      Case 1:23-cv-11195-SHS-OTW                 Document 404           Filed 01/16/25        Page 1 of 4




January 16, 2025
Hon. Ona T. Wang
United States Magistrate Judge
Southern District of New York

Re:      The New York Times Company v. Microsoft Corp. No.: 23-cv-11195; Daily News, LP v.
         Microsoft Corp.: No. 1:24-cv-3285; The Center for Investigative Reporting, Inc. v.
         OpenAI, Inc.: No. 1:24-cv-04872: Dispute Regarding Deposition Protocol (Dkt. 382)

Dear Magistrate Judge Wang:
        I write for the News Plaintiffs in response to Defendants’ request for a deposition protocol.
The Court should reject Defendants’ proposal and instead adopt the proposal attached as Exhibit
1, which proposes coordination among the News Plaintiffs. In the alternative, if the Court wishes
to order coordination across all SDNY Cases, it should enter the proposal attached as Exhibit 2.
       All parties agree it is time to enter a protocol, as occurred in the California action against
OpenAI just hours after Defendants filed their motion. See Dkt. 400-1. The question the Court
should address is not whether to enter a protocol, but which one.

      1. The Court Should Order a Protocol for the Consolidated News Cases
       The Court already ruled that the News Plaintiffs should not be required to coordinate with
the California action. See Ex. 3 (October 30, 2024 Tr.) at 6:25-7:2 (stating that the Court is “not
going to require anybody to formally coordinate with the actions in the Northern District of
California”). The News Plaintiffs’ proposal adheres to that ruling by proposing coordination
among the News Cases only, or in the alternative, all SDNY cases.
         The basic features of Defendants’ proposal, by contrast, are unclear. If all Defendants want
is to coordinate scheduling with California—as the proposal states in paragraph 2—News
Plaintiffs have no objection. But Defendants’ brief suggests they want something broader, stating
they may “seek an option for the same witness to sit for deposition once in all [i.e., New York and
California] cases.” Dkt. 382 at 2. It is unclear what that “option” is or how they would “seek” it. It
is also unclear whether the proposal counts time taken by the California plaintiffs against the News
Plaintiffs. See Dkt. 382-1 ¶ 2 (“[D]eposition hours shall be counted against all taking parties . . .
.”). If “against all taking parties” means that hours taken by one set of plaintiffs count against
another set’s allotment, the proposal violates the Court’s ruling against mandatory coordination
with California.1
        The reason the News Plaintiffs are left guessing about Defendants’ proposal is that
Defendants never even sent it to Plaintiffs before moving the Court to enter it. Instead, in the lead-
up to their motion, Defendants proposed, and the News Plaintiffs rejected, a different proposal that
effectively required formal coordination with California. See Ex. 4 (Defendants’ prior proposal
requiring that “[i]f a 30(b)(1) deposition of an OAI-affiliated witness is noticed in the California


1
 Defendants’ proposal requires coordination between the News and SDNY Class Cases. As News Plaintiffs previously
argued, that structure would require Defendants to cross-produce documents to all plaintiffs. See Dkt. 261 at 1-2.
Defendants have rejected that request, making the proposal unworkable.

                                                        1
      Case 1:23-cv-11195-SHS-OTW                    Document 404           Filed 01/16/25         Page 2 of 4




consolidated class cases, it will also be automatically cross-noticed in all New York cases”).2
Defendants abandoned that proposal at the last minute and filed this vague proposal instead.
         The News Plaintiffs’ proposal, by contrast, provides a straightforward and clear approach
to deposition coordination, for which the News Plaintiffs have been advocating since October:
coordination among the closely related News Cases. Even OpenAI has contended that the News
Cases are “very different” from the SDNY class actions because, while the class cases are
“narrowly focused” on Defendants’ use of works for “training” the models, the News Cases also
implicate the “outputs” of Defendants’ models and products, which means “the scope of discovery
[] will differ substantially.” Dkt. 72 at 16.

      2. The Court Should Adopt the News Plaintiffs’ Hours Allocations
        Regardless of what structure the Court adopts, the Court should enter News Plaintiffs’
proposed hours limitations. The proposed hours limitations fall into three buckets: (1) caps on the
overall amount of deposition time; (2) per-witness caps; (3) caps for unspecified apex witnesses.
Overall Caps. The following table summarizes the two sides’ proposals on the overall limits.

                     Depositions by News Plaintiffs         Depositions by Defendants
    News Plaintiffs’ ● 260-hour total cap                   ● 250-hour total cap
    Proposal         ● No more than 175 hours for           ● No more than 105 hours for all
                        all witnesses from OpenAI or           witnesses from any News Plaintiff
                        Microsoft                           ● 50-hour cap for all third-party
                                                               witnesses
    Defendants’             ● 140-hour total cap            ● 210-hour total cap
    Proposal                ● No more than 70 hours for all ● No more than 70 hours for all
                              witnesses from OpenAI or         witnesses from any one individual
                              Microsoft                        News Plaintiff

       In short, Defendants propose that plaintiffs in the three News Cases share 140 hours,
including third parties and 30(b)(6) depositions, with a maximum of 70 hours for all witnesses for
each Defendant (including former employees).
        Defendants’ proposal does not provide News Plaintiffs with nearly enough time. Across
both Defendants, there are currently 65 document custodians, including 34 for OpenAI and 31 for
Microsoft. The list of topics to explore during depositions is long. Dkt. 261 at 4 n.8. Defendants
identified 22 employees as knowledgeable about relevant issues, and that number excludes
employees OpenAI will identify in supplemental responses about the additional models and
products the parties have agreed to include in discovery. Dkt. 350 at 15; Dkt. 302 at 1; Dkt. 136-
1. The News Plaintiffs propose a higher number of hours (260), with a 175-hour maximum per
Defendant. That proposal is within the range of reasonableness for complex cases. E.g., In re
Parmalat Sec. Litig., No. 04-CV-30 Dkt. 414 (S.D.N.Y. Mar. 6, 2006) (900 hours); In re Pfizer
Sec. Litig., No. 04-CV-9866 Dkt. 223 (S.D.N.Y. Aug. 20, 2010) (600 hours); Wausau Bus. Ins.
Co. v. Turner Const. Co., 204 F.R.D. 248, 250 (S.D.N.Y. 2001) (“hundreds of hours”).
Defendants’ proposal—which allocates more time to Defendants than to News Plaintiffs—is not.

2
    And that proposal was different from the one Defendants asked the Court to enter in October. Dkts. 260-1, 260-2.

                                                           2
Case 1:23-cv-11195-SHS-OTW   Document 404   Filed 01/16/25   Page 3 of 4
  Case 1:23-cv-11195-SHS-OTW            Document 404     Filed 01/16/25   Page 4 of 4




                                                Respectfully,

                                                /s/ Ian B. Crosby
                                                Ian B. Crosby
                                                Susman Godfrey L.L.P.

                                                /s/ Steven Lieberman
                                                Steven Lieberman
                                                Rothwell, Figg, Ernst & Manbeck

                                                /s/ Matt Topic
                                                Matt Topic
                                                Loevy & Loevy

cc:   All Counsel of Record (via ECF)




                                            4
